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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA
                                         )
KARI SIMONSEN,                           )         Case No.
                                         )
            Plaintiff,                   )
                                         )        COMPLAINT and
vs.                                      )    DEMAND FOR JURY TRIAL
                                         )     in LINCOLN, NEBRASKA
THURSTON COUNTY SCHOOL                   )
DISTRICT 87-0013 (d/b/a WALTHILL         )
PUBLIC SCHOOLS); and KIRK                )
AHRENDS, in his individual and official  )
capacities;                              )
                                         )
            Defendants.                  )


       COMES NOW the Plaintiff, by and through her attorney, and for her cause of

action against the Defendants states as follows:

       1.      This is an action seeking redress for the violations of constitutionally and

statutorily protected rights guaranteed the Plaintiff by the Americans with Disabilities

Amendments Act; Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 701; Title

VII of the Civil Rights, as amended, 42 U.S.C. §1981, brought under 42 U.S. §1983, the

First Amendment of the United States Constitution, as raised through 42 U.S.C. § 1983,

and the Nebraska Fair Employment Practices Act.

       2.      Plaintiff is a resident of Nebraska.

       3.      Defendant Thurston County School District 87-0013 (d/b/a Walthill Public

Schools) (hereinafter WPS) is a political subdivision operating within the State of

Nebraska and is a recipient of State and Federal funds.

       4.      Upon further information and belief, nearly 96% of students who attend

WPS are Native American and a significant majority of WPS students have a disability as



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that term is defined by the ADAAA, the Rehabilitation Act, and the Nebraska Fair

Employment Practices Act.

       5.      Upon information and belief and at all times alleged, Defendant Kirk

Ahrends was the Superintendent of WPS. At all times alleged herein, Defendant Ahrends

was acting in his official and individual capacities and within the scope and course of his

employment with WPS.

       6.      At all times alleged herein, the customs, policies, practices, “edicts and

acts” and/or the failure to train, supervisor or monitor the employees, officers,

administrators, and/or elected officials of Defendant WPS resulted in the constitutional

and statutory deprivation of Plaintiff’s rights and the rights of disabled Native American

students who have attended WPS since the 2017-2018 school year (and likely prior to the

2017-2018 school year).

       7.      This Court has original jurisdiction over the federal statutory and

constitutional claims and concurrent jurisdiction of the claims arising under Nebraska

law.

       8.      Plaintiff received her bachelor’s degree in elementary education from

Midland Lutheran College and thereafter obtained her graduate degree in Education

Administration from Concordia University.         At all times alleged, Plaintiff has held a

Nebraska teaching certificate.

       9.      Plaintiff commenced her employment with Defendant WPS in 2005 as a

general education teacher. The most recent position held by Plaintiff before her

unlawful suspension was teaching 3rd grade.       Plaintiff also served as the union

representative for WPS teachers prior to and at the time of her August 2021 suspension.



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Plaintiff’s union representative position required her to advocate on behalf of WPS

teachers and participate in negotiations with WPS teachers, administrators and the school

board regarding the terms and conditions of employment for teachers employed by WPS.

       10.      It is undisputed that Plaintiff’s work performance was satisfactory.

       11.      At all times alleged, Plaintiff was and is qualified for the position she

holds at WPS.

       12.      At all times alleged, a substantial number of WPS’s Native American

students were disabled and required an individualized education program (IEP). An IEP

is a written plan for providing educational services to disabled students. Federal and state

law requires strict compliance with the IEP so disabled students received legally

mandated educational services.

       13.      Upon information and belief, WPS received additional (and specially

earmarked) taxpayer funds to provide the legally required educational services to its

disabled students.

       14.      As will be fully described in the following paragraphs, Plaintiff repeatedly

reported and opposed non-compliance with student IEPs for over a decade to a plethora

of entities and individuals, including, but not limited to, WPS administrators, the

district’s director of special education, the Nebraska Department of Education, the

district’s school board, third parties placed and working at WPS, and numerous

employees of the school district.

       15.      Plaintiff was closely associated with minority students with disabilities

who attended WPS.




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        16.         In August 2017, Kerri Mohnsen, a speech pathologist who was employed

by Educational Service Unit No. 1 (ESU 1), was placed at WPS to provide services to

special education students. Within days of arriving at WPS, Ms. Mohnsen discovered that

WPS was failing to provide statutorily mandated services and education to special

education students, most of whom were Native American.

        17.         Ms. Mohnsen made complaints to her employer and WPS about this

illegal activity.

        18.         In the fall of 2017, Plaintiff again reported to WPS administrators and

others that disabled Native American students were not receiving all educational services

mandated under law.

        19.         After WPS and ESU No. 1 failed to take appropriate remedial action

regarding the failure to deliver special education services to students, Mohnsen filed

complaints with the Nebraska Department of Education (NE DOE) which detailed the

statutory violations related to WPS’s failure to provide mandated education and services

to special education students, many of whom are Native American, and other related

matters. Mohnsen’s complaints to the NE DOE, included, but were not limited to WPS’s

failure to provide appropriate services required by law to special needs students, allowing

improperly licensed or credentialed staff to provide mandatory services to special needs

students, failing to properly document and record services allegedly provided to special

needs students, failing to create and/or abide by statutorily mandated Individual

Education Plans (IEPs) or §504 plans for special needs students, failing to provide

reasonable accommodation to special needs students, and misappropriation of state and




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federal funds designated for services for special needs students and/or Native American

students attending WPS.

       20.     As part of its investigation into Ms. Mohnsen’s complaints, the NE DOE

interviewed Plaintiff in late Fall of 2017 or early Spring of 2018. Plaintiff contract with

WPS did not require her to participate in the NE DOE investigation.

       21.     During her interview with the NE DOE, Plaintiff confirmed and

corroborated the reported law violations related to WPS’s failure to deliver mandatory

educational services to disabled Native American students. The matters on which the

Plaintiff spoke undisputedly involved matters of public concern.

       22.     Ms. Simonsen also described during her NE DOE interview the egregious

harassment that Ms. Mohnsen suffered at the hands of WPS administrators and

employees due to Ms. Mohnsen’s engagement in numerous protected activities.

Reporting unlawful retaliation and participating in a state investigation regarding illegal

activities involve matters of public concern.

       23.     On or about March 15, 2018, the NE DOE issued its investigatory report

regarding the aforementioned complaints against WPS. The NE DOE found numerous

violations by WPS, including, but not limited to: (a) WPS failed to provide special

education and related services to children with disabilities in accordance with the

students’ IEPs; (b) WPS failed to make the students’ IEPs accessible to those

professionals who needed to see the IEPs; (c) WPS failed to inform teachers and

providers of their responsibilities related to the implementation of the students’ IEPs; (d)

WPS failed to include goals and a description of how student progress would be

measured; (e ) WPS failed to routinely check the hearing aid(s) worn by student(s); (f)



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WPS did not review the IEPs in the manner required by law; and (g ) WPS had accepted

state and federal special education funding but had failed to provide the mandatory

services to disabled students as required by law even though the state and federal funding

had been specifically earmarked for special education services.

       24.     The NE DOE investigation also described numerous specific deficiencies

of WPS Superintendent, Edward Stansberry, including, but not limited to, his failure to

ensure compliance with state and federal special education laws and remissness in

delivering disabled students educational services to which they are legally entitled.

       25.     As a result of the investigation, WPS was placed on probation and ordered

to comply with a multitude of other remedial actions by the NE DOE in an attempt to

cure the numerous deficiencies noted in the investigatory report.

       26.     The NE DOE’s interview of Plaintiff substantially contributed to the NE

DOE’s investigatory findings and conclusions against WPS and Mr. Stansberry.

       27.     Following the issuance of the NE DOE report, WPS Superintendent

Stansberry resigned his position effective prior to the commencement of the 2018-2019

school year.

       28.     On or about April 19, 2019, the NE DOE filed a Petition against former

WPS Superintendent Stansberry (and his professional license) alleging numerous law

violations arising out of his alleged failure to provided legally mandated services to

disabled WPS students.

       29.     Thereafter, Edward Stansberry’s professional license was suspended for

one year by the Nebraska Department of Education.




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         30.   Defendant Ahrends was hired by WPS during the 2017-2018 school year

and became WPS Superintendent in the summer of 2018 following Edward Stansberry’s

resignation.

         31.   Upon information and belief, Defendant Ahrends has maintained a very

close personal and professional relationship with Ed Stransberry throughout his

employment with WPS.

         32.   Upon information and belief, Defendant Ahrends frequently consults with

Mr. Stansberry about matters related to WPS. Defendant Ahrends relies heavily on

Stanberry’s advice in performing his superintendent duties at WPS.

         33.   Plaintiff’s colleague, Kerri Mohnsen, suffered egregious discrimination

due to her close association with disabled Native American students and was retaliated

after engaging in numerous protected activities.

         34.   On June 20, 2019, on behalf of Kerri Mohnsen, the undersigned attorney

filed a federal lawsuit against WPS, ESU No. 1, Edward Stansberry, former WPS

Superintendent, and two individuals employed by ESU No. 1. (See Mohnsen v. ESU No.

1, WPS, Clark, Heimann, and Stansberry, U.S. Dist. Ct. for Dist. of Neb., Case 4:19-cv-

3061).

         35.   The undersigned attorney deposed Plaintiff in the Mohnsen v. ESU No. 1,

et.al. litigation on December 2, 2020. Plaintiff’s contract with WPS did not require her

to give deposition testimony in the Mohnsen lawsuit.

         36.   After Plaintiff’s deposition was scheduled, but before it was taken,

Defendant Ahrends sought to intimidate and coerce Plaintiff’s sworn deposition

testimony by falsely telling Plaintiff that her testimony would determine whether WPS



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had to remain on the 2018 NE DOE remedial/corrective action plan that was imposed on

WPS due to the deficiencies reported to the state agency (which were substantially

corroborated by Plaintiff).

        37.    The plaintiff was so unnerved and upset about Defendant Ahrends’s

threatening and coercive words and behavior that she asked WPS’s attorney in the

Mohnsen litigation to speak to Ahrends on her behalf and specifically request that he stop

harassing her. Ahrends’s harassment of Plaintiff did not end.

        38.    Defendant Ahrends’s threatening and intimidating pre-deposition

interactions with Plaintiff did not sway her from testifying truthfully on December 2,

2020.

        39.    During Plaintiff’s December 2, 2020 deposition, she testified, in relevant

part, as follows: That throughout her years of employment with WPS that: (1) WPS

routinely failed to deliver special education services to special education students, (2)

WPS’s Director of Education repeatedly (and falsely) stated that compliance with

students’ IEP minutes and plans were suggestions; not mandatory; (3) she had repeatedly

reported to WPS administrators and others that special education students had been

denied education required under their IEP plan and the law, (4) WPS administrators

intimidated and sought to deter her from making complaints when and after she reported

the IEP violations; (5) WPS failed to take action after she reported violations of IEP plans

for seventeen (17) years, (6) even though her reports of IEP violations resulted in no

action from the district, Plaintiff continued to report said violations on behalf of special

education students; (7) WPS teachers, including but not limited to Becky Rogers, failed

to deliver services and education required by law to special needs students; (8) the district



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wholly stopped providing any type of special education services to special needs students

a week or two before the school year was over; (9) Mohnsen did not have any problems

at WPS prior to her reporting and/or opposing the district’s failure to deliver special

education services to special needs students; (10) after Mohnsen reported to district

administrators that WPS was non-compliant with IEP plans and/or had failed to deliver

all educational minutes required under the IEP, former WPS Superintendent Ed

Stansberry unilaterally changed the students’ IEP plans in violation of the law; (11) WPS

administrators and staff became overtly hostile and aggressive towards Mohnsen after she

reported the district’s failure to deliver special education services; and (12) Simonsen

reported to NE DOE investigators that after Mohnsen reported the IEP violations, some

WPS administrators and staff “were terrible to her…they treated her like crap.” Her

deposition testimony absolutely involved matters of public concern.

       40.     It is undisputed that Plaintiff’s testified to many matters involving public

concern.

       41.     And Plaintiff’s deposition testimony detailed the egregious harassment of

Mohnsen by WPS administrators and employees. Such testimony also involved matters

of public concern as they were not personal to Plaintiff, rather it detailed and

corroborated WPS’s illegal retaliation against a third-party.

       42.     Throughout Defendant Ahrends’s employment with WPS, he has engaged

in a pattern of overtly hostile, dismissive, threatening, coercive, intimidating, and

disapproving conduct directed at the Plaintiff due to her being a whistleblower, because

she participated in protected activities related to the delivery of special education services




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to disabled students and the illegal retaliation directed towards the plaintiff and a third

party, and due to her close association with disabled Native American WPS students.

        43.     As the teachers’ union representative, Plaintiff regularly attended WPS

School Board meetings and advocated on behalf of union members regarding matters

which affected the terms and conditions of employment for union members who were

employed as teachers at WPS. During said meetings, Defendant Ahrends routinely

discussed the Mohnsen lawsuit in a disgusted, hostile, and angry manner. Often times

Defendant Ahrends joked about Mohnsen and her lawsuit to the WPS school board.

During these repeated discussions, members of the WPS School Board stared at Plaintiff

in a disapproving, threatening, and hostile manner. Defendant Ahrends also routinely

engaged in similar conduct when he attended WPS staff meetings.

        44.     It was overwhelmingly apparent that Defendant Ahrends and the WPS

School Board possessed great dislike of and contempt for Mohnsen, her lawsuit, persons

who corroborated Mohnsen’s allegations, and persons who engaged in similar protected

activities, such as the Plaintiff.

        45.     As noted above, Defendant Ahrends and Edward Stansberry have

maintained a very close personal and professional relationship throughout Ahrends’s

tenure with WPS.      Just weeks before Plaintiff’s unlawful suspension, Plaintiff witnessed

Defendant Ahrends and Stansberry standing closely together for an extended period of

time at a local event, talking, laughing, and staring at Plaintiff in a highly menacing,

disapproving and intimidating manner. Plaintiff felt intimidated and threatened by

Ahrends’s and Stranberry’s conduct.




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       46.     The Mohnsen v. ESU No. 1, et.al. matter was resolved out of court in mid-

August, 2021. A joint stipulation for dismissal was filed on August 31, 2021. (See Doc.

#83, Case No. 4:19-cv-3061, U.S. Dist. Ct. for Dist. of Neb).

       47.     On the exact day that the joint stipulation for dismissal was filed in the

Mohnsen matter, Defendant Ahrends suspended Plaintiff from her employment with

WPS for the entire 2021-2022 school year. Prior to her suspension, Plaintiff had entered

into a written teaching contract with the district for the duration of the 2021-2022 school

year. Plaintiff’s suspension was discriminatory and retaliatory.

       48.     The August 31, 2021 written suspension letter authored by Defendant

Ahrends to Plaintiff stated, in relevant part, “Based upon the nature of the charges, I

believe it to be in your best interest and those of the school district that you be

temporarily relieved of your duties…until a thorough investigation can be completed….”

       49. Defendant Ahrends’s August 21, 2021 letter to Plaintiff continued: “During

the period of administrative leave, you will not be able to participate in school district

activities, and are not to return to the school, whether during working hours or after,

unless prior arrangements have been made with me. Your contacts during this period

should be with or through me.”

       50.     Plaintiff’s unlawful suspension has continued through the date of this

filing even though the investigation was completed on April 11, 2022.

       51.     Defendant Ahrends’s August 31, 2021 letter further stated: “You are

directed to immediately return any keys, electronic devices, or other school property that

you have in your possession….”




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       52.     During the August 31, 2021 suspension meeting with Plaintiff, Defendant

Ahrends told Plaintiff that her teaching contract would not be renewed for the 2022-2023

school year.

       53.     Defendants’ unlawful conduct deprived and/or substantially interfered

with Plaintiff’s constitutional right to associate with and advocate on behalf of union

members and associate with students, employees, union members, and other persons

present at WPS since August 2021. Defendants’ unlawful ban, which prohibited Plaintiff

from participating in district activities and barred her from school property, was

motivated by discriminatory and retaliatory reasons.

       54.     A few days before her unlawful suspension, Plaintiff told WPS Principal,

Seth Sackmann, and Defendant Ahrends that she would continue to report violations of

law and/or failure to deliver special education services to disabled students if she

witnessed the same. Plaintiff’s contract with WPS did not require her to make such

reports.

       55.     Additionally, in the days preceding her unlawful suspension, Plaintiff and

two WPS teachers were discussing allegations that a WPS teacher, Becky Rogers, was

failing to provide mandated services to special education students and had failed to

comply with the disabled students’ IEPs. The 2018 NE DOE report noted multiple

deficiencies by WPS teacher Becky Rogers in failing to deliver mandatory special

education services to disabled students. Plaintiff told her peers that she would speak out

and/or continue to report the district’s failure to deliver special education services to

disabled students.    Plaintiff’s contract with WPS did not require her to make such

reports.



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       56.     During the suspension meeting, Defendant Ahrends accused Plaintiff of

attempting to terminate another employee.

       57.     Defendant Ahrends’s allegations are absurd and clearly a pretext for

discrimination and retaliation. Plaintiff, a contracted WPS teacher, has no authority to fire

another employee as hiring and firing decisions are at the sole discretion of WPS

administrators and/or the school board. Plaintiff is neither a WPS administrator nor

board member.

       58.     Plaintiff adamantly denies engaging in any improper conduct.

       59.     The unlawful suspension of Plaintiff constitutes an unlawful employment

action. To be “adverse” the action need not always involve termination or even a

decrease in benefits or pay. Sellers v. Deere & Co., 791 F.3d 938, 942 (8th Cir. 2015).

“[l]esser actions than demotion, suspension and termination can be adverse if their

cumulative effect cause an employee to suffer ‘serious employment consequence’ that

adversely affect or undermine his position.” Shockency v. Ramsey Cnty., 493 F.3d 941,

948 (8th Cir. 2007) (citing Kim v. Nash Finch Co, 123 F.3d 1046, 1060 (8th Cir. 1997)).

“Changes in employment duties or conditions that cause material disadvantage to the

employee constitute adverse employment actions, but tangential changes do not.”

Shockency, 493 F.3d at 948.

       60.     In a November 22, 2021 letter sent by Plaintiff to Defendant Ahrends and

WPS School Board member, James Randol, she wrote many things, including, but not

limited to, the district’s failure to provide special education services to disabled students,

her interview with and the NE DOE 2018 findings (that the district failed to deliver

mandatory services to special education students), the unlawful retaliation against



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Mohnsen by the district after she engaged in protected activities, and the Defendants’

unlawful treatment of her. The contents of her November 22, 2021 letter contained

matters of public concern. Plaintiff’s contract with WPS did not require her to write or

send the November 22, 2021 letter.

       61.     In late November or early December 2021, Plaintiff filed six written

complaints with the NE DOE against Defendant Ahrends and four other administrators

and employees of WPS. The complaints alleged, in part, continuing violations by district

employees in failing to provide mandatory educational services to special needs students

and the unlawful retaliation against third parties and addressed other matters of public

concern. The complaints also described the Defendants’ continuing pattern of

discrimination and retaliation against the Plaintiff. Plaintiff’s teaching contract with

WPS did not require her to write or submit the NE DOE complaints.

       62.     In December 2021, Plaintiff’s attorney learned that WPS hired its long-

time attorney, Steve Williams, to investigate Defendants’ illegal treatment of Plaintiff.

Upon information and belief, WPS has likely paid Mr. Williams’s law firm hundreds of

thousands of dollars to defend/represent the district in various lawsuits and legal matters

over the years. It is incomprehensible that a lawyer could conduct a fair and unbiased

investigation of their own client; particularly a client who has paid in the past and was

currently paying the firm for legal representation. The conflict was glaringly apparent to

all except Mr. Williams and the Defendants.

       63.     This is not the first time that Mr. Williams has sought to investigate his

own client’s alleged illegal conduct. After Mohnsen reported WPS’s illegal conduct to

the school district, Mr. Williams (who was representing WPS at the time and had



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previously represented WPS), allegedly conducted ‘an investigation’ into his client’s

alleged illegal behavior.

        64.     Not surprisingly, when he was deposed in the Mohnsen litigation, Mr.

Williams testified that his investigation revealed no misconduct by his client, WPS.

        65.     When the undersigned attorney learned that Mr. Williams again sought to

investigate his client regarding Simonsen’s serious allegations of illegal activity by his

client (WPS), she alerted Mr. Williams of his firm’s alleged potential conflicts. Due to

the objections raised, Mr. Williams agreed to hire another person to conduct the

investigation into Plaintiff’s allegations.

        66.     On or about February 15, 2022, Plaintiff participated in an investigation

regarding Defendants’ illegal actions. This interview, and the information provided to

the investigator, Chad Meisgeier, involved matters of public concern regarding WPS’s

denial of and/or failure to deliver education to its special education students (mandated

by state and federal law), the illegal treatment of Mohnsen by WPS, and some matters

personal to Plaintiff, including but not limited to discrimination and retaliation by the

Defendants. Plaintiff’s teaching contract with WPS did not require her to participate in

this investigation.

        67.     During the course of the investigation, Plaintiff’s counsel repeatedly

requested that Mr. Meisgeier obtain from Mr. Williams highly probative, material and

relevant documents in order to conduct a thorough investigation.

        68.     Rather than being an independent investigator, Meisgeier failed to obtain

the highly relevant requested documents as “WPS attorney said they were not relevant.”




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       69.     A truly independent and competent investigator would have required WPS

to produce the documents central to a full and fair investigation rather than relying on the

defense attorney’s statement that the documents were not relevant.

       70.     During the alleged investigation, Plaintiff described the district’s failure to

deliver special education services to special needs students, the district’s violations of the

rights of special education students, the district’s unlawful actions towards a third-party,

and the illegal conduct to which she had been subjected to by Defendants. These matters

upon which the Plaintiff spoke included matters of public concern.

       71.     Meisgeier’s investigation was completed in April 2022.

       72.     Plaintiff has not been reinstated to the classroom even though Defendant

Ahrends’s letter stated that the suspension would continue until the investigation was

completed.

       73.     On February 7, 2022, Plaintiff filed additional charges of discrimination

and retaliation against WPS with the NEOC and EEOC. The administrative charges

allege that WPS violated the Nebraska Fair Employment Practices Act, the ADA

Amendments Act of 2008, and Title VII of the Civil Rights Act. These charges included

matters of public concern such as the denial of special education services to disabled

students, and retaliation against a third-party after she engaged in protected activities.

The charges also included matters personal to the plaintiff such as ongoing discrimination

and retaliation by Defendants.

       74.     On or about May 2, 2022, Plaintiff filed amended charges against WPS

with the NEOC and EEOC which detailed the district’s continuing acts of discrimination

and retaliation in violation of state and federal law. These charges included matters of



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public concern such as the denial of special education services to disabled students, and

retaliation against a third-party after she engaged in protected activities. The charges also

included matters personal to the plaintiff such as ongoing discrimination and retaliation

by Defendants.

        75.     On or about May 11, 2022, Plaintiff filed additional amended charges of

discrimination and retaliation against WPS with the NEOC and EEOC. The amended

charges alleged that WPS violated the Nebraska Fair Employment Practices Act, the

ADA Amendments Act of 2008, and Title VII of the Civil Rights Act.           These charges

included matters of public concern such as denial of special education services to

disabled students, and retaliation against a third-party after she engaged in protected

activities. The charges also included matters personal to the plaintiff such as ongoing

discrimination and retaliation by Defendants.

        76.     On or about April 25, 2022, Plaintiff accepted a teaching contract with

WPS for the 2022-2023 school year. The contract provided, in relevant part, that she

“agrees to devote full time, during days of school to his/her position in all respects, to

diligently and faithfully perform the assigned duties as teacher to the best of his/her

professional ability.”

        77.     Even though the 2022-2023 contract provided that Plaintiff commence

work on August 8, 2022, Defendant has refused to recall Plaintiff from suspension.

Plaintiff remained on suspension for the entire 2022-2023 school year and the ban which

prohibits Plaintiff from participating in district activities and from entering onto district

property remains in effect as of the date of this filing.




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          78.   Plaintiff filed a federal lawsuit against the Defendants on August 25, 2022

which alleged violations of the Americans with Disabilities Amendments Act, Section

504 of the Rehabilitation Act of 1973, 29 U.S.C. § 701; Title VII of the Civil Rights Act,

as amended, 42 U.S.C. §1981, the First Amendment of the United States Constitution, as

raised through 42 U.S.C. §1983, and the Nebraska Fair Employment Practices Act. (See

U.S. District Court for the District of NE, Case No. 4:22-cv-03179, Doc #1)

          79.   On or about January 31, 2023, Plaintiff filed administrative actions with

the NEOC and EEOC alleging continuing acts of discrimination and retaliation by

Defendants in violation of the ADAAA, Title VII, and the Nebraska Fair Employment

Practices Act. These charges included matters of public concern such as denial of special

education services to disabled students, and retaliation against a third-party after she

engaged in protected activities. The charges also included matters personal to the

plaintiff such as ongoing discrimination and retaliation by Defendants.

          80.   On or about May 1, 2023, the EEOC issued a determination and notice of

rights.

          81.   Plaintiff timely filed a first amended complaint in federal court against

Defendants on June 2, 2023. The first amended complaint alleges violations of the state

and federal laws referenced in ¶79. (See U.S. District Court for the District of NE, Case

No. 4:22-cv-03179, Doc #23)

          82.   At the time the first amended complaint was filed as noted in ¶81, the

NEOC charge referenced in paragraph 79 was pending before that state agency.




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       83.     Throughout the 2022-2023 school year, Plaintiff sent emails to Defendant

Ahrends requesting information about the date that she should report to work in the

classroom. Defendant Ahrends failed to respond to Plaintiff’s inquiries.

       84.    On April 10, 2023, Plaintiff entered into a teaching contract with WPS for

the 2023-2024 school year. The contract provides in relevant part that the teacher…”

agrees to devote full time, during days of school to his/her position in all respects, to

diligently and faithfully perform the assigned duties as teacher to the best of his/her

professional ability.”

       85. Pursuant to the 2023-2024 contract, Plaintiff should have commenced her

teaching duties on or about August 7, 2023.

       86. Pursuant to an April 2023 email exchanged between counsel for the parties, it

appears that WPS intended to maintain the ‘status quo’ and continue Plaintiff’s

suspension for the foreseeable future. WPS’s unlawful conduct may last for decades.

       87.   As threatened by defense counsel in April 2023, Defendants have refused to

return Plaintiff to the classroom to teach students since the 2023-2024 school year

commenced in August 2023.

       88.     As of the date of this filing, the suspension and ban precluding Plaintiff

from participating in district activities and entering onto school property remains in

effect. The suspension and ban have substantially interfered with Simonsen’s ability to

associate with and advocate for students, parents, employees, union members, and others

present at and/or associated with the school district.




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          89.    The suspension and ban have prevented Simonsen, who serves as the WPS

teacher union representative, from engaging in union activities and/or advocating on

behalf of union members.

          90.    Due to the continuing violations noted in paragraphs ¶¶84-89 above, on or

about September 28, 2023, Plaintiff filed additional NEOC and EEOC charges of

discrimination and retaliation against WPS alleging violations of the Nebraska Fair

Employment Practices Act, the ADAAA, and Title VII of the Civil Rights Act.

          91.    On November 15, 2023, the U.S. Department of Justice, Civil Rights

Division, issued Ms. Simonsen a Notice of Right to Sue within 90 days regarding the

administrative charges that she filed with the EEOC on or about September 28, 2023.

The NEOC charges filed in September 2023 are currently pending before that agency.

Plaintiff has fulfilled the administrative prerequisites prior to filing this timely action.

          92.    Upon information and belief, Defendants falsely told staff that Plaintiff

was suspended as she had threatened to kill Ms. Rogers. Ms. Rogers is one of the WPS

employees who denied special education services to disabled students per the NE DOE

report.     Ms. Rogers is still employed by WPS even though she violated state and federal

laws by depriving disabled students the educational services to which they are legally

entitled.

          93.    Defendants’ statements to staff are false and defamatory. Not only have

the Defendants unlawfully suspended Plaintiff and refused to reinstate her (contrary to

her numerous teaching contracts and the August 31, 2021 suspension notice) and banned

her from school activities and school property, Defendants are making up vicious lies




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about her which has damaged her reputation in the teaching community, and the

community at large.

       94. The numerous matters upon which Plaintiff spoke and wrote (as set forth

herein) involved matters of public concern. Defendants punished Plaintiff for her speech

in a manner that would chill a person of ordinary firmness from continuing to engage in

the activity in which Plaintiff engaged. Defendants’ conduct has also infringed upon

Plaintiff’s constitutional right to associate with persons, students, employees, union

members, and others present at WPS and has precluded her engagement in union

activities on behalf of WPS teachers since the August 31, 2021 suspension.

       95. Plaintiff’s statutory and constitutional rights that were violated by

Defendants were clearly established at the time of the deprivation.

        96. As noted in the preceding paragraphs, after Plaintiff engaged in one or more

protected activities and spoke out on matters of public concern, Defendants substantially,

egregiously, and willfully discriminated and retaliated against her by materially altering

Plaintiff’s job duties and responsibilities as well as her working conditions and banned

her from district activities and school property. Defendants’ unlawful action also

prohibited Plaintiff from engaging in union representative duties on behalf of herself and

other members of the teachers’ union at WPS.

       97. Defendants also discriminated and retaliated against Plaintiff due to her close

association with disabled students and Native American students.

       98. At all times alleged herein, Defendant Ahrends and other WPS employees,

agents, representatives, administrators, and/or officials were acting in the scope and

course of their employment and/or office with the political subdivisions noted herein and



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were acting in concert with each other to deprive Ms. Simonsen of her constitutional and/

or statutory rights.

        99.     As a result of Defendants’ actions, Plaintiff has suffered injuries,

including, but not limited to, past, present, and future, mental suffering, humiliation,

inconvenience, emotional and mental anguish and distress, lost wages and the value of

job-related benefits, damage to reputation, and other special and general damages as

allowed under law.

        100.    At all times relevant, Defendant Ahrends acted recklessly or in willful

disregard of the Plaintiffs’ statutory and constitutional rights. Punitive damages against

the individually named defendant is appropriate.

                                          COUNT I

        Plaintiff incorporates paragraphs 1 through 100 as if fully set forth herein.

        101.    Defendant Ahrends violated Plaintiff’s right to free speech in

contradiction of the Constitution of the United States of America (1st Amendment) as

raised through 42 U.S.C. § 1983.

        102.   Plaintiff has suffered, and will continue to suffer, general and special

damages as a result of Defendant Ahrends’s unlawful conduct.

        103. Punitive damages against Defendant Ahrends are appropriate given his

willful and/or reckless disregard of the Plaintiff’s constitutionally and statutorily

protected rights.




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                                           COUNT II

       Plaintiff incorporates paragraphs 1 through 103as if fully set forth herein.

       104.      Defendant Ahrends violated Plaintiff’s right to engage in union activities

and advocate on behalf of union members, and associate with students and other persons

present at WPS since August 2021 in contradiction of the First Amendment of the

Constitution of the United States of America as raised through 42 U.S.C. § 1983.

       105. Plaintiff has suffered, and will continue to suffer, general and special

damages as a result of Defendant Ahrends’s unlawful conduct.

       106.      Punitive damages against Defendant Ahrends are appropriate given his

willful and/or reckless disregard of the Plaintiff’s constitutionally and statutorily

protected rights.

                                         COUNT III

       Plaintiff incorporates paragraphs 1 through 106 as if fully set forth herein.

       107.      Defendant WPS retaliated against Plaintiff after she engaged in the

protected activities noted herein in violation of the Americans with Disabilities

Amendments Act, the Rehabilitation Act of 1973, and the Nebraska Fair Employment

Practices Act.

       108.      Plaintiff has suffered, and will continue to suffer, general and special

damages as a result of Defendant WPS’s unlawful conduct.

                                         COUNT IV

       Plaintiff incorporates paragraphs 1 through 108 as if fully set forth herein.

       109.      Defendant WPS discriminated against the Plaintiff due to her close

association with Native American students in violation of Title VII of the Civil Rights



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Act, as amended, 42 U.S.C. §1981, as raised through 42 U.S.C. Section 1983, and the

Nebraska Fair Employment Practices Act.

       110.    Plaintiff has suffered, and will continue to suffer, general and special

damages as a result of Defendant WPS’s unlawful conduct.

                                      COUNT V

       Plaintiff incorporates paragraphs 1 through 110 as if fully set forth herein.

       111.    Defendant WPS retaliated against the Plaintiff due to the protected

activities in which she engaged on behalf of the Native American students and/or due to

her close association with said students. Said conduct violates Title VII of the Civil

Rights Act, as amended, 42 U.S.C. §1981, as raised through 42 U.S.C. Section 1983, and

the Nebraska Fair Employment Practices Act.

       112.    Plaintiff has suffered, and will continue to suffer, general and special

damages as a result of Defendant WPS’s unlawful conduct.

                                        COUNT VI

        Plaintiff incorporates paragraphs 1 through 112 as if fully set forth herein.

       113.    Defendant Ahrends discriminated and retaliated against Plaintiff due to the

protected activities in which she engaged on behalf of Native Americans students and/or

due to her close association with said students. Said conduct violates 42 U.S.C. §1981 as

raised through 42 U.S.C. Section 1983.

       114.    Plaintiff has suffered, and will continue to suffer, general and special

damages as a result of Defendants’ unlawful conduct.




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        115.   Punitive damages against Defendant Ahrends are appropriate given his

willful and/or reckless disregard of the Plaintiff’s constitutionally and statutorily

protected rights.

                                       COUNT VII

        Plaintiff incorporates paragraphs 1 through 115 as if fully set forth herein.

        116.   Defendant WPS retaliated against Plaintiff after she engaged in the

protected activities noted herein in violation of the Nebraska Fair Employment Practices

Act.

        117.   Plaintiff has suffered, and will continue to suffer, general and special

damages as a result of Defendant WPS’s unlawful conduct.

        WHEREFORE, Plaintiff respectfully requests that this Court assume jurisdiction

herein as to all counts alleged herein and grant the following relief:

        a.     Declare Defendants’ conduct to be violative of the Plaintiff’s rights under

the appropriate state or federal law(s) and/or U.S. Constitution;

        b.     Award Plaintiff past, present, and future general and special damages in

amount to be determined by a jury of her peers and order that Plaintiff be reinstated to her

teaching duties;

        c.     Award Plaintiff punitive damages against the individually named

defendant;

        d.     Enjoin Defendants from engaging in any further illegal actions against the

Plaintiff;

        e.     Award Plaintiff pre-judgment interest on lost wages and value of lost job-

related benefits and on compensatory damages.



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       f.      Award Plaintiff monetary damages as a tax set off for any damages

awarded;

       g.      Award Plaintiff taxable and non-taxable costs and reasonable attorney’s

fees and such other and further relief as the Court deems just and reasonable and

appropriate to correct the wrong done to the Plaintiffs.


                                      BY:     s/Kathleen M. Neary______
                                              Bar Number: NSBA 20212
                                              Attorney for Plaintiff
                                              POWERS LAW
                                              411 South 13th Street, Suite 300
                                              Lincoln, NE 68508
                                              Telephone: (402) 474-8000
                                              Fax: (402) 474 5006
                                              Email: kathleen@vpowerslaw.com



                       DEMAND FOR JURY TRIAL

               Plaintiff requests trial by jury in Lincoln, Nebraska.

                                              s/Kathleen M Neary___________
                                              Kathleen M. Neary NSBA 20212


                       CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of February 2024 I electronically file the
foregoing with the Clerk of the Court using the CM/ECF system which sent notification
of such filing to all counsel of record.
                                               s/Kathleen M. Neary___________
                                               Kathleen M. Neary




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